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                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND
                  RYAN DILLON-CAPPS
                                                                        Civil Action

                                           Plaintiff,                   No. 1:24-CV-3744
                  vs.

                  OHANA GROWTH PARTNERS, LLC et al                      Hon. Judge Hurson


                                        Defendants


                 ORDER FOR PLAINTIFF’S EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                                         AND PRELIMINARY INJUNCTION

                 Upon consideration of Plaintiff Ryan Dillon-Capps’ Emergency Motion for a Temporary

                 Restraining Order and Preliminary Injunction, and for good cause shown, the Court finds

                 that:

                     1. Plaintiff has demonstrated a likelihood of success on the merits of his claims under the

                         Family and Medical Leave Act (FMLA), 29 U.S.C. § 2615, the Americans with

                         Disabilities Act (ADA), 42 U.S.C. § 12101 et seq., and the Maryland Wage Payment

                         and Collection Law (MWPCL), Md. Code, Lab. & Empl. § 3-507.2(b).

                     2. Plaintiff has established that he will suffer immediate and irreparable harm absent

                         temporary and preliminary injunctive relief, including severe financial distress, loss of

                         essential utilities, risk of foreclosure, and denial of medical care due to lack of

                         insurance.

                     3. The balance of hardships overwhelmingly favors Plaintiff, as Defendants will suffer

                         little to no hardship from restoring wages and benefits that Plaintiff was already entitled

                         to receive.




             Order For Plaintiff’s Emergency Motion For Temporary Restraining Order And Preliminary Injunction
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                    4. The public interest strongly favors granting injunctive relief to uphold federal

                        employment protections and prevent unlawful employer retaliation.

                 Accordingly, it is this ___ day of February 2025, ORDERED that:

                 I. TEMPORARY RESTRAINING ORDER

                 Pending a ruling on Plaintiff’s Motion for Preliminary Injunction, Defendants are immediately

                 ORDERED to:

                    1. Reinstate Plaintiff to active payroll at the post-2024 salary level, including full salary

                        payments from the date of this Order until further ruling by this Court.

                        Defendants are further ORDERED to pay all unpaid wages, bonuses, and reimbursements

                        owed to Plaintiff, covering the period from June 13, 2024, through the present, in full

                        within [3] business days of this Order.

                    1. Restore all of Plaintiff’s insurance policies, including health, dental, vision, and life

                        insurance, with full coverage as previously provided.

                    2. Cease all coercive legal and financial actions, including any interference with

                        Plaintiff’s wages, credit, or financial stability during the pendency of this action.

                    3. Preserve all relevant evidence, including emails, payroll records, personnel files, and

                        internal communications, related to Plaintiff’s employment, termination, and wage

                        disputes.

                 II. PRELIMINARY INJUNCTION HEARING

                 It is further ORDERED that:

                    1. A hearing on Plaintiff’s Motion for Preliminary Injunction is set for ______________

                        2025, at ____________before this Court.




             Order For Plaintiff’s Emergency Motion For Temporary Restraining Order And Preliminary Injunction
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                    2. Defendants shall file any opposition to Plaintiff’s Motion no later than

                        _________________ 2025.

                 III. SERVICE OF THIS ORDER

                 The Clerk of Court is directed to forward a copy of this Order, along with Plaintiff’s Motion for

                 a Temporary Restraining Order and Preliminary Injunction, to the U.S. Marshals Service for

                 immediate service upon Defendants at their last known business addresses. The U.S. Marshals

                 shall promptly file proof of service with the Court.

                   SO ORDERED this ___ day of ___________, 2025.




                   Hon. Brendan A. Hurson                                              United States District Court
                   United States District Judge                                        District of Maryland




             Order For Plaintiff’s Emergency Motion For Temporary Restraining Order And Preliminary Injunction
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